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                          UNITED STATES DISTRICT COURT

                         EASTERN DISTRICT OF LOUISIANA

ISIDRO BARICUATRO, ET AL.                        CIVIL ACTION

VERSUS                                           NO. 11-2777

INDUSTRIAL PERSONNEL AND                         SECTION “N”
MANAGEMENT SERVICES, INC.,                       JUDGE KURT D. ENGELHARDT
ET AL.
                                                 MAG. DIV. (2)
                                                 JUDGE JOSEPH C. WILKINSON, JR.


                                         ORDER


       CONSIDERING THE FOREGOING;

       IT IS HEREBY ORDERED that defendant, DNR Offshore and Crewing Services,

Inc., is granted leave to file the attached Memorandum in Reply to Plaintiffs’ Opposition to

Motion to Dismiss for Improper Venue and/or Motion to Compel Arbitration filed by Defendants

V Manpower Philippines, Inc. and Pacific Ocean Manning Inc.
             Hello This is a Test
                                  7th day of _________________,
       Thus done and signed this ______          December       2012, in New Orleans,

Louisiana.



                                          _____________________________________
                                          JUDGE
